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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                              )
                                                       )
                  Plaintiff,                           )
                                                       )
       v.                                              )       CRIMINAL NO. 04-30139-WDS
                                                       )
DOUGLAS E. FARMER,                                     )
                                                       )
               Defendant.                              )


                                  MEMORANDUM & ORDER

STIEHL, District Judge:

       This matter is before the Court on defendant’s motion for disqualification of district

judge for bias and prejudice (Doc. 574), which is written in the first person, and therefore,

appears to have been prepared by the defendant. It is, however, signed by the defendant and also

signed by defense counsel, Daniel Reardon. The government has filed its objection to the

defendant’s motion (Doc. 575).

       The motion for disqualification challenges the impartiality of this judge based on the

following assertions: That the defendant has been held in the county jail for some time awaiting

trial; that this judge is biased against the defendant; that he did not have a firearm at the time of

his arrest in his possession, but he did have a FOID card at that time; that he has only had one

prior drug charge, but that charge was dismissed; that he was arrested and charged in state court

with assault, but that the charges were dismissed; that by allowing defendant’s prior counsel,

David O. Fischer, to be removed as counsel he has been denied a fair trial; that he needs to make

bail so that he can work and make arrangements to have another attorney; that this judge has

failed to act upon pleadings in a timely manner; that this judge has acted toward the defendant in


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a manner that is contrary to law, arbitrary and capricious and has been an abuse of discretion;

and that the defendant has a “well-founded fear” that this judge has already formed an opinion

regarding this criminal case which is contrary to the interests of justice.

                     STANDARDS GOVERNING DISQUALIFICATION

       Without being specific, defendant appears to be seeking disqualification under both 28

U.S.C. § 144 and § 455, but has not filed an affidavit in support of the motion for

disqualification. Section 144 provides:

               § 144. Bias or prejudice of judge

                 Whenever a party to any proceeding in a district court makes and files a
               timely and sufficient affidavit that the judge before whom the matter is
               pending has a personal bias or prejudice either against him or in favor of
               any adverse party, such judge shall proceed no further therein, but another
               judge shall be assigned to hear such proceeding.
                 The affidavit shall state the facts and the reasons for the belief that bias
               or prejudice exists, and shall be filed not less than ten days before the
               beginning of the term at which the proceeding is to be heard, or good
               cause shall be shown for failure to file it within such time. A party may
               file only one such affidavit in any case. It shall be accompanied by a
               certificate of counsel of record stating that it is made in good faith.

Section 455 provides in pertinent part:

               § 455. Disqualification of justice, judge, or magistrate.

               (a)     Any justice, judge, or magistrate of the United States shall
                       disqualify himself in any proceeding in which his impartiality
                       might reasonably be questioned.
               (b)     He shall also disqualify himself in the following circumstances:
                       (1)      Where he has a personal bias or prejudice concerning a
                                party, or personal knowledge of disputed evidentiary facts
                                concerning the proceeding; . . .
                       (5) He or his spouse, or a person within the third degree of
                       relationship to either of them, or the spouse of such a person:
                            (i)      Is a party to the proceeding, or an officer, director, or
                                     trustee of a party;
                            (ii)     Is acting as a lawyer in the proceeding;
                            (iii) Is known by the judge to have an interest that could be
                                     substantially affected by the outcome of the
                                     proceeding;

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                            (iv)    Is to the judge’s knowledge likely to be a material
                                    witness in the proceeding.

A.     Disqualification Under § 144

       “Recusal under section 144 is mandatory once a party submits a timely and sufficient

affidavit and [his] counsel presents a certificate stating that the affidavit is made in good faith.”

United States v. Sykes, 7 F.3d 1331, 1339 (7th Cir. 1993), citing United States v. Balistrieri, 779

F.2d 1191, 1199-1200 (7th Cir. 1985). The affidavit must satisfy two requirements: it must be

timely and sufficient. An affidavit is not “timely” unless it is filed “at the earliest moment after

[the movant acquires] knowledge of the facts demonstrating the basis for such disqualification.”

United States v. Barnes, 909 F.2d 1059, 1071 (7th Cir. 1990), quoted in Sykes, 7 F.3d at 1339.

Finally, the affidavit must be legally sufficient. “In passing on the legal sufficiency of the

affidavit, the Court must assume the truth of the factual assertions even if it ‘knows them to be

false.’” Id., quoting Balistrieri, 779 F.2d at 1199. Further:

               [T]he facts averred must be sufficiently definite and particular to convince
               a reasonable person that bias exists; simple conclusions, opinions or
               rumors are insufficient. The affidavit also must show "that the bias is
               personal rather than judicial, and that it stems from an extrajudicial source
               some source other than what the judge has learned through participation
               in the case."

7 F.3d at 1339, quoting Balistrieri, 779 F.2d at 1199 (emphasis added).

       1.       Timeliness of the Motion

        Failure to file a timely affidavit is fatal to a claim under § 144. Sykes, 7 F.3d at 1339.

Section 144 requirements are considered to be “stringent.” Id. As the Sykes court noted: “Two

months after the allegedly prejudicial [act] is certainly not ‘at the earliest possible moment’ after

discovery of the prejudice.” Id., quoting Barnes, 909 F.2d at 1071-72.

       Here, the defendant did not file an affidavit contemporaneously with his motion, rather he

filed the motion for disqualification because he “believes” this Judge to be biased. Given that

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there is no affidavit filed in support of the motion, the Court’s analysis under § 144 could end

here. However, in light of the fact that the defendant drafted this motion himself, the Court will

consider this to be his “affidavit.” The Court notes that in this case timing is significant. The

Seventh Circuit has stated: “We cannot permit parties to postpone filing affidavits until after an

alleged prejudice manifests itself without eviscerating the timing requirement altogether.” Sykes,

7 F.3d at 1339, n.11. The motion is not timely filed. Defendant's assertions of bias stretch

throughout the life of this case, and do not involve a limited or even discrete period of time.

       2.      Allegations of Bias

       Moreover, even if the Court construes defendant to have timely filed an affidavit, it

nonetheless still fails to meet the requirements of § 144. “[T]he facts averred [in a § 144

affidavit] must be sufficiently definite and particular to convince a reasonable person that bias

exists; simple conclusions, opinions, or rumors are insufficient.” Id. at 1339. The affidavit must

show “that the bias is personal rather than judicial, and that it stems from an extrajudicial source

some source other than what the judge has learned through participation in the case.” Id.

(emphasis added). The Court notes that this motion/affidavit asserts bias simply based on the

defendant’s “well-founded fear” that this Judge has somehow formed an opinion against him.

       To the extent that this opinion would be based on matters that the Court has learned

during the course of this litigation, that is not a basis for disqualification. The Supreme Court

addressed the extrajudicial source doctrine in Liteky v. United States, 510 U.S. 540, 550 (1994).

The Court stated:

               It seems to us that the origin of the “extrajudicial source” doctrine, and the
               key to understanding its flexible scope (or the so called “exceptions” to it),
               is simply the pejorative connotation of the words “bias or prejudice.” Not
               all unfavorable disposition towards an individual (or his case) is properly
               described by those terms.

Id.(emphasis added). Further:

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               The words [bias and prejudice] connote a favorable or unfavorable
               disposition or opinion that is somehow wrongful or inappropriate, either
               because it is undeserved, or because it rests upon knowledge that the
               subject ought not to possess (for example, a criminal juror who has been
               biased or prejudiced by receipt of inadmissible evidence concerning the
               defendant's prior criminal activities), or because it is excessive in degree
               (for example, a criminal juror is so inflamed by properly admitted
               evidence of a defendant's prior criminal activities that he will vote guilty
               regardless of the facts). The "extrajudicial source" doctrine is one
               application of this pejorativeness requirement to the terms "bias" and
               "prejudice" as they are used in §§ 144 and 455(b)(1) with specific
               reference to the work of judges.

Id.

       Therefore, “judicial rulings alone almost never constitute valid basis for a partiality

motion,” nor will “opinions formed by the judge on the basis of facts introduced or events

occurring in the course of the current proceedings, or of prior proceedings” unless they “display

a deep-seated favoritism or antagonism that would make fair judgment impossible.” Id. at 555.

B.     Disqualification under § 455

       Section 455 provides for disqualification in a number of instances where a judge’s

impartiality might reasonably be questioned. Section 455(a) provides for disqualification of a

judge “in any proceeding in which his impartiality might reasonably be questioned,” and is the

more general “open-ended standard.” Matter of Hatcher, 150 F.3d 631, 637 (7th Cir. 1998).

Section 455(b) provides specific instances where disqualification is warranted. “The standard in

any case for a §455(a) recusal is whether the judge’s impartiality could be questioned by a

reasonable, well-informed observer.” Id. In Hook v. McDade, 89 F.3d 350, 354 (7th Cir. 1996)

the court stated that §455(a) “asks whether a reasonable person perceives a significant risk that

the judge will resolve the case on a basis other than the merits. This is an objective inquiry.”

(Citations omitted.) See also Liteky 510 U.S. at 548 where the Court stated “what matters is not

the reality of bias or prejudice but its appearance.”


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       Here, defendant’s main concern seems to be the fact that the Court has considered and

rejected his repeated requests to be released on bond. The Supreme Court determined that the

“extrajudicial source” doctrine is more properly a factor to consider in both § 144 and § 455

recusal motions.

               Since neither the presence of an extrajudicial source necessarily
               establishes bias, nor the absence of an extrajudicial source necessarily
               precludes bias, it would be better to speak of the existence of a significant
               (and often determinative) “extrajudicial source” factor, than of an
               “extrajudicial source” doctrine, in recusal jurisprudence.

Id. at 554-55. The Supreme Court concluded that the true issue governing recusal is the

appearance of a wrongful or inappropriate bias or prejudice, i.e. whether the judge has a

“inability to render fair judgment.” Id at 555. As Liteky noted, matters learned in prior

proceedings and a “judge's ordinary efforts at courtroom administration–even a stern and short-

tempered judge’s ordinary efforts at courtroom administration–remain immune” from bias and

prejudice attacks. Id. at 556. Similarly, defendant asserts, without more, that the Court has

failed to act on his motions in a timely manner. This assertion does not establish bias by the

Court against the defendant.

       The standard is “not the reality of bias or prejudice but its appearance,” id. at 548, and

this Court must resist improper use of the recusal statute. As the Third Circuit stated: “[W]e

remain ever mindful that attacks on a judge’s impartiality may mask attempts to circumvent that

judge's anticipated adverse decision.” In re Antar, 71 F.3d 97, 101 (3d Cir. 1995). Section 455

“must not be so broadly construed that it becomes, in effect, presumptive, so that recusal is

mandated upon the merest unsubstantiated suggestion of personal bias or prejudice.” Nichols v.

Alley, 71 F.3d 347, 351 (10th Cir. 1995), quoting Franks v. Nimmo, 796 F.2d 1230, 1235 (10th

Cir. 1986). Neither is the statute intended to “bestow veto power over judges or to be used as a

judge shopping device.” 71 F.2d at 351. Certainly “a judge has as strong a duty to sit when

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there is no legitimate reason to recuse as he does to recuse when the law and facts require.” Id.

        There is a general presumption that a court acts according to the law and not personal

bias or prejudice. Withrow v. Larkin, 421 U.S. 35, 47(1975). A sufficient affidavit contains facts

that, if true, would convince a reasonable person that actual bias or prejudice exists on the part of

the judge. United States v. Barnes, 909 F.2d 1059, 1071 (7th Cir. 1990). Defendant’s motion

simply does not meet these standards under even the most liberal of readings.

                                           CONCLUSION

        Clearly here, the assertions of defendant’s motion rest on his dissatisfaction with the

Court’s rulings, the nature of those rulings, the timeliness of those rulings, and the fact that he is

still being held in the County jail.   None of the grounds defendant has asserted warrant or

require disqualification. Losing a motion, or receiving an unfavorable ruling, or not being found

to be a credible witness by the Judge in a proceeding, does not amount to bias or prejudice under

the provisions of either §§ 144 or 455. Similarly, the fact that the Court has determined that the

defendant is a flight risk and a danger to the community, and therefore, is to be held without

bond is not a basis for granting a recusal motion. Accordingly, the Court DENIES defendant’s

motion for disqualification on all grounds asserted.

        IT IS SO ORDERED.

        DATED: October 2, 2006.


                                                       s/ WILLIAM D. STIEHL
                                                           DISTRICT JUDGE




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